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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------x
  NYCOMED US INC.,
                                                                  MEMORANDUM
                                      Plaintiff,                  AND ORDER
                    -against-
                                                                  08-CV-5023 (CBA)(RLM)
  GLENMARK GENERICS LTD., et al.,

                                      Defendants.
  ------------------------------------------------------------x

  ROANNE L. MANN, UNITED STATES MAGISTRATE JUDGE:

            Discovery disputes in this action have been contentious, protracted, and excessively

  documented. Even well after the close of discovery, critical issues regarding document

  production remain unresolved -- most significantly, whether Glenmark’s searches of its

  electronically stored information (“ESI”) were conducted properly, and whether Glenmark

  unjustifiably withheld responsive electronic and paper documents. A resolution of these

  matters is long overdue, and the Court’s patience for the parties’ incessant finger-pointing is at

  an end.

           Having reviewed the extensive record and conducted an evidentiary hearing to examine

  the Glenmark employee responsible for overseeing Glenmark’s ESI search and document

  production, the Court concludes that Glenmark failed to abide by its good-faith discovery

  obligations in two respects: (1) Glenmark withheld from discovery, without justification,

  clinical study reports from the PRACS Institute (“PRACS”), the clinical testing agent for

  Glenmark’s Abbreviated New Drug Application (“ANDA”) fluticasone lotion; and (2)

  Glenmark willfully failed to search two important and obvious repositories for responsive ESI,

  which contained Glenmark’s U.S. provisional and utility patent applications. Glenmark’s
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  failure to timely produce otherwise discoverable electronic information containing responsive

  search terms was inexcusable. Thus, for the reasons set forth below, the Court finds that

  discovery sanctions against Glenmark are warranted, and directs Glenmark to pay a $100,000

  fine to plaintiff Nycomed and a $25,000 fine to the Clerk of the Court.

                                          BACKGROUND

         More than a year ago, after the June 5, 2009 deadline for document production, see

  Order (May 19, 2009), ECF Docket Entry (“D.E.”) #73, Nycomed first challenged the

  adequacy of Glenmark’s ESI searches, complaining that the number of responsive documents

  was “incredibly small” and that Glenmark had failed to produce metadata and the “hit list” of

  documents yielded by its keyword searches. See Motion to Compel Proper ESI Search (July 2,

  2009), D.E. #93. The undersigned magistrate judge granted in part Nycomed’s request for

  relief, directing Glenmark to provide “custodian” and “keyword” metadata for documents it

  had produced, as well as the hit list containing the results of its ESI searches. See

  Memorandum and Order (July 13, 2009), D.E. #101.

         Despite this relief, Nycomed’s concerns regarding the adequacy of Glenmark’s ESI

  searches persisted beyond the close of fact discovery on August 17, 2009, see Order (Feb. 17,

  2009), D.E. #30-1, and, on September 19, 2009, Nycomed sought to strike those portions of

  Glenmark’s filings -- including its claim construction positions, defenses, and counterclaims --

  that related to patent applications that Nycomed argued should have been provided during the

  ESI search process, but instead were produced after discovery had closed. See Motion to

  Strike (Sept. 18, 2009) (“9/18/09 Pl. Letter”) at 2, 3, D.E. #145; Memorandum in Support

  (Sept. 29, 2009), D.E. #171. The Court denied the extraordinary relief that Nycomed sought,

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  and instead reopened discovery for the limited purpose of permitting the telephonic deposition

  of one of Glenmark’s formulators concerning the contents of Glenmark’s belatedly produced

  utility and provisional patent applications. See Memorandum and Order (Nov. 12, 2009)

  (“11/12/09 M&O”) at 7–8, D.E. #189.

         Nycomed objected to the Court’s ruling and filed a motion for reconsideration of that

  portion of the order denying its motion to strike. See Memorandum in Support of Motion for

  Reconsideration (Nov. 27, 2009) (“11/27/09 Pl. Mem.”), D.E. #203-1. Nycomed reiterated

  its concerns that Glenmark had not properly conducted its ESI searches, see id. at 15, 16, and

  Glenmark again denied the allegations as untrue. See Response in Opposition (Dec. 4, 2009)

  at 8, D.E. #205. At a hearing on the matter on December 17, 2009, the Court once again

  denied Nycomed’s request to strike Glenmark’s pleadings, but held that Nycomed was

  “entitled to some limited discovery concerning the patent applications which were not produced

  during the discovery period.” Transcript of Oral Argument on December 17, 2009 (“12/17/09

  Tr.”) at 73, D.E. #211.

         Not to be outdone, Glenmark filed its own motion for reconsideration of the Court’s

  ruling, and requested clarification of the nature of any additional discovery ordered by the

  Court, to the extent that such discovery went beyond what was necessary to authenticate

  Glenmark’s belatedly produced patent applications for purposes of admissibility. See Motion

  for Reconsideration (Jan. 4, 2010) at 12, D.E. #214-1. More filings and accusations from

  both sides followed, including Nycomed’s renewed assertions that a series of email threads

  obtained from a third-party clinical testing agent, PRACS, constituted “unequivocal proof” that

  Glenmark had not conducted proper ESI searches and was withholding critical information.

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  See Letter Concerning Glenmark Reply (Jan. 27, 2010) at 1–2, D.E. #221.

           The Court remained troubled by the tone and volume of filings on the issue, and grew

  uncertain as to the adequacy of Glenmark’s ESI production. During a joint conference with a

  related case brought by Nycomed against Perrigo Pharmaceuticals,1 the Court, at Glenmark’s

  suggestion, directed Glenmark to make a “factual showing,” through someone with personal

  knowledge of the process, regarding the adequacy of Glenmark’s ESI search. See Transcript

  of Civil Conference on February 3, 2010 (“2/3/10 Tr.”) at 58–59, D.E. #233. Glenmark’s

  response to that directive -- and both parties’ additional filings addressing that response2 --

  failed to allay the Court’s concerns as to why certain documents had not been timely produced.

           On May 27, 2010, “[i]n an effort to finally resolve Nycomed’s challenges to the

  adequacy of Glenmark’s document production[,]” the Court scheduled an evidentiary hearing

  for June 2, 2010, and directed Glenmark to produce as a witness Dr. Vijay Soni, the Executive

  Vice President of IP for Glenmark Generics, Inc., USA, and the Glenmark employee

  responsible for overseeing its searches. See Order (May 27, 2010), D.E. #322. Dr. Soni

  appeared on the scheduled date, and was examined by the Court and by counsel. See generally

  Transcript of Evidentiary Hearing on June 2, 2010 (“6/2/10 Tr.”), D.E. #351. Dr. Soni’s

  testimony shed considerable light on the deficiencies in Glenmark’s ESI searches, and

  confirmed that additional relief in the form of sanctions is appropriate to remedy what this

  Court now considers Glenmark’s willful dereliction of its discovery duties.


  1
    Nycomed U.S. Inc. v. Perrigo Israel Pharmaceuticals, Ltd., et al., 09-CV- 5123
  (CBA)(RLM).
  2
      See record citations infra pp. 9–17.

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                                            DISCUSSION

  I. Applicable Legal Standards

         The Federal Rules of Civil Procedure authorize a party to serve on any other party a

  request to produce electronically stored information in “the responding party’s possession,

  custody, or control.” Fed. R. Civ. P. 34(a). A party that has been served with a request for

  ESI is charged with “find[ing] and disclos[ing] all responsive documents or properly set[ting]

  forth why the documents are being withheld.” Merck Eprova AG v. Gnosis S.P.A., No. 07

  Civ. 5898 (RJS), 2010 WL 1631519, at *4 (S.D.N.Y. Apr. 20, 2010). This obligation to

  conduct a diligent search requires good faith on the part of the responding party and its

  attorneys, and mandates that they work together “to ensure that both understand how and

  where electronic documents, records and emails are maintained and to determine how best to

  locate, review and produce responsive documents.” Richard Green (Fine Paintings) v.

  McClendon, 262 F.R.D. 284, 290 (S.D.N.Y. 2009) (internal quotation marks and citation

  omitted).

         When parties and/or their counsel fail in their duty to conduct proper searches of ESI,

  sanctions may be appropriate, even where the misconduct involves late disclosure, as opposed

  to spoliation. See Phoenix Four, Inc. v. Strategic Res. Corp., No. 05 Civ. 4837, 2006 WL

  1409413, at *5–6, *9 (S.D.N.Y. May 23, 2006).3 The predicate for such sanctions is Rule 37


  3
     Pursuant to Rule 26(g)(1), which requires that counsel sign every discovery response,
  counsel’s signature constitutes a certification that, “to the best of the signer’s knowledge,
  information, and belief,” the response is consistent with the rules of discovery and not
  interposed for any improper purpose. Fed. R. Civ. P. 26(g)(1). Certifications made “without
  substantial justification” are subject to “an appropriate sanction” on the certifying attorney, the
                                                                                        (continued...)

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  of the Federal Rules of Civil Procedure and/or the Court’s inherent authority to manage its

  own affairs. See 11/12/09 M&O at 3, D.E. #189 (citing Fed. R. Civ. P. 37(c)(1)); Phoenix

  Four, 2006 WL 1409413, at *3; see also Residential Funding Corp. v. DeGeorge Fin. Corp.,

  306 F.3d 99, 106–07 (2d Cir. 2002) (“Even in the absence of a discovery order, a court may

  impose sanctions on a party for misconduct in discovery under its inherent power to manage its

  own affairs.”) (citing DLC Mgmt. Corp. v. Town of Hyde Park, 163 F.3d 124, 135–36 (2d

  Cir. 1998)). Discovery sanctions serve three purposes: they (1) ensure that a violating party

  does not benefit from its own failure to comply with discovery; (2) serve as a specific deterrent

  to achieve compliance with the particular discovery order at issue; and (3) serve as a general

  deterrent in the case at hand and in other litigation, provided that the party against whom

  sanctions are imposed was in some sense at fault. See In re Durand, No. 07-CV-5037 (JFB),

  2008 WL 4282601, at *5 (E.D.N.Y. Sept. 16, 2008); see also Gutman v. Klein, No.

  03CV1570 (BMC)(RML), 2008 WL 4682208, at *11 (E.D.N.Y. Oct. 15, 2008); Klezmer v.

  Buynak, 227 F.R.D. 43, 51 (E.D.N.Y. 2005).

         “Whether exercising its inherent power, or acting pursuant to Rule 37, a district court

  has wide discretion in sanctioning a party for discovery abuses.” Reilly v. Natwest Mkts.

  Group Inc., 181 F.3d 253, 267 (2d Cir. 1999); accord Gutman, 2008 WL 4682208, at *11;

  Klezmer, 227 F.R.D. at 51; see Design Strategy, Inc. v. Davis, 469 F.3d 284, 294 (2d Cir.

  2006). Rule 37 lists a menu of possible remedies, the most severe of which include “directing

  that . . . designated facts [in the discovery order] be taken as established for purposes of the


  3
   (...continued)
  client, or both. Fed. R. Civ. P. 26(g)(3).

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  action, as the prevailing party claims,” to “striking pleadings in whole or in part,” or even

  “dismissing the action or proceeding in whole or in part.” Fed. R. Civ. P. 37(b)(2)(A)(i) –

  (vi). A court may also levy monetary sanctions against a violating party in lieu of or in

  addition to the sanctions outlined in Rule 37(b)(2)(A). See, e.g., Merck Eprova, 2010 WL

  1631519, at *6. Where a party seeks sanctions for the responding party’s failure to produce

  requested documents, the Court “may order payment of the reasonable expenses, including

  attorney's fees, caused by the failure.” Fed. R. Civ. P. 37(c). The imposition of an adverse

  inference is another potential sanction for discovery abuses. See, e.g., Residential Funding,

  306 F.3d at 107-10. For less severe sanctions, such as fines and cost-shifting, the Court’s

  inquiry focuses mainly on the misconduct of the responding party; for more severe sanctions,

  such as dismissal, preclusion or the imposition of an adverse inference, the Court must also

  assess whether the requesting party suffered prejudice as a result of the loss or withholding of

  evidence. See Pension Comm. of Univ. of Montreal Pension Plan v. Bank of Am. Secs.,

  LLC, 685 F.Supp.2d 456, 467 (S.D.N.Y. 2010); accord Merck Eprova, 2010 WL 1631519, at

  *4.

         In previously exercising its discretion, the Court declined to adopt the more draconian

  measures sought by Nycomed -- to wit, the striking of Glenmark’s pleadings and its claim

  construction positions and briefs. See generally 11/12/09 M&O, D.E. #189. Since that time,

  the record has been expanded, casting new light on Glenmark’s discovery misconduct. To

  determine whether sanctions or other relief are warranted in view of the new information and

  evidence, the Court applies the same legal framework as before and thus considers factors such

  as: (1) the explanation for the failure to disclose; (2) the importance of the withheld evidence;

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  (3) the prejudice suffered by the opposing party absent severe sanctions; and (4) the possibility

  of a continuance. See id. at 4 (citing Patterson v. Balsamico, 440 F.3d 104, 117 (2d Cir.

  2006); Softel, Inc. v. Drafon Med. & Scientific Comm’cns, Inc., 118 F.3d 955, 961 (2d Cir.

  1997); Design Strategy, 469 F.3d at 296). A showing of bad faith on the part of the offending

  party is not required under Rule 37. Design Strategy, 469 F.3d at 296.

  II. Glenmark’s Sanctionable Discovery Misconduct

         A. Glenmark Unjustifiably Withheld the PRACS Clinical Study Reports

         Glenmark did not timely produce all of the PRACS clinical study reports in its

  possession until at least September 11, 2009 -- about three months after the deadline for the

  parties to produce responsive ESI. See Letter in Response (Feb. 17, 2010) (“2/17/10 Pl.

  Letter”) at 1, D.E. #235.4 It also failed to produce a series of fourteen email threads between

  Dr. Rajesh Karwa (a Glenmark employee) and PRACS personnel that were subsequently

  located in a corrupted email storage file on Dr. Karwa’s laptop computer. These documents

  relate to bioequivalence clinical studies concerning the vasoconstrictive properties of

  Glenmark’s proposed product. Both parties have disputed the importance and volume of the

  belatedly produced PRACS documents,5 and the adequacy of Glenmark’s explanation for

  4
    Nycomed contends that even Glenmark’s production of PRACS documents on September 11,
  2009 was incomplete. See Letter Concerning Glenmark Reply (Jan. 27, 2010) at 2, D.E.
  #221.
  5
    Nycomed asserts that the PRACS clinical study reports are “highly relevant” to the issue of
  infringement, in that Glenmark has argued that its fluticasone lotion does not infringe the
  patent-in-suit because “there is no evidence that its proposed product will have the clinical
  results of the second wherein clause of the claims (‘wherein the lotion causes more
  vasoconstriction’).” 11/27/09 Pl. Mem. at 8, D.E. #203-1. Nycomed additionally maintains
                                                                                      (continued...)

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  failing to produce them.

         As an initial matter, this Court rejected Glenmark’s relevance objections more than a

  year ago, concluding that “[clinical biostudies] concerning the vasoconstrictive properties of

  Glenmark’s proposed product are sufficiently relevant to be discoverable.” Memorandum and

  Order (July 30, 2009) (“7/30/09 M&O”), at 3, D.E. #112. Unbeknownst to the Court,

  shortly before this ruling, Glenmark -- anticipating the Court’s decision and knowing that

  Nycomed had served a third-party subpoena on PRACS -- furnished Nycomed with some, but

  not all, of the PRACS clinical study documents. See Letter in Response (May 3, 2010)

  (“5/3/10 Def. Letter”) at 2, D.E. #298. Glenmark then supplemented this already-belated

  production with a handful of additional documents on September 11, 2009. See id.

         Nycomed assails Glenmark’s withholding of the PRACS clinical study reports,

  correctly noting that the documents contain responsive ESI search terms. See 2/17/10 Pl.

  Letter at 1, D.E. #235. Nycomed similarly argues that the emails to and from Dr. Karwa

  likewise contain responsive ESI, and thus should have been located and produced had

  Glenmark properly searched its Microsoft Exchange server and journaling system. Id.6

  5
   (...continued)
  that Glenmark’s biostudies were conducted improperly. See id. Glenmark contends that the
  clinical biostudies are not relevant to the litigation in that they relate only to FDA approval of
  Glenmark’s ANDA application. See Response in Opposition (June 10, 2009) at 2, D.E. #86.
  6
    Glenmark described five types of systems on which it currently maintains its ESI: “(a)
  laptop hard drives for those employees who have a laptop; (b) the Microsoft Exchange email
  server, located in Mumbai, India; (c) the file exchange servers, which are located at each
  Glenmark facility; (d) the backup tapes, which are rewritten every thirty (30) days; and (e) the
  journaling system, located in Mumbai, India.” Declaration of Vijay Soni, Ph.D. Concerning
  ESI (Feb. 11, 2010) (“2/11/10 Soni Decl.”) ¶ 5, D.E. #230. Prior to February 2009,
  Glenmark had a decentralized setup of five Microsoft Exchange mail servers, four of which
                                                                                     (continued...)

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   Glenmark acknowledges that all of the clinical study reports “were located during Glenmark’s

   first search of its ESI and paper documents,” Letter in Response (May 3, 2010) (“5/3/10 Def.

   Letter”) at 2–3 D.E. #298, but counters that it was “under no obligation to re-produce exact

   duplicates [of the PRACS clinical study reports] . . . it knew Nycomed already had.” Letter in

   Response (Feb. 25, 2010) (“2/25/10 Def. Letter”), at 2, D.E. #242. Glenmark additionally

   asserts that the email correspondence between PRACS and Dr. Karwa had not been produced

   because copies were stored only on Dr. Karwa’s laptop in a “.pst” file that was corrupted and

   unsearchable. See id. at 3. Both parties have provided the Court with affidavits of purported

   “experts” in ESI to support their respective positions. See Declaration of Mark D. Gianturco,

   D.E. #260; Declaration of James Berriman, D.E. #243.

          According to Mahendra Sekharan, the Glenmark employee responsible for physically

   conducting these searches, PRACS clinical study documents were collected in paper and

   electronic form during Glenmark’s ESI searches in April and July 2009. See Declaration of

   Mahendra Sekharan Concerning Glenmark’s Biostudy Documents (May 3, 2010) ¶ 2, D.E.

   #299. Consequently, Glenmark’s only excuse for its late production of the clinical study

   reports is an ex post facto one: Glenmark reasons that after Nycomed had independently

   obtained documents from PRACS, there was no need to provide copies of the reports because,

   in Glenmark’s view, such production would be unnecessarily redundant. See 2/25/10 Def.

   Letter at 2, D.E. #242. The Court finds this explanation woefully inadequate. Nor was it



   6
    (...continued)
   were located in India and one in Mahwah, New Jersey. See Declaration of Mahendra
   Sekharan (Feb. 25, 2010) ¶ 5, D.E. #241.

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   proper for Glenmark to withhold the reports simply because they were “hundreds of pages

   long.” Id. In fact, once the Court ruled in July 2009 that such documents were discoverable,

   there should have been no question that Glenmark was obligated to immediately produce all of

   the PRACS documents that it located during its April and July 2009 ESI searches. Glenmark’s

   failure to do so -- evidenced by its tardy production in September -- violated Glenmark’s

   obligation to timely provide responsive discovery, and its belated production does not

   retrospectively excuse this violation. See RBS Holdings, Inc. v. Gordon & Ferguson, Inc.,

   No. 06 Civ. 6404(HB)(KNF), 2007 WL 1610211, at *2-3 (S.D.N.Y. June 4, 2007).

          With respect to the PRACS emails, Glenmark has provided a plausible explanation for

   its failure to produce them. During the evidentiary hearing on June 2, 2010, Dr. Soni, who

   oversaw Glenmark’s collection of ESI and paper discovery, described how Dr. Karwa moved

   several of his emails to a .pst file once he had reached the limit for emails in his inbox. See

   6/2/10 Tr. at 6-7, 88–89, D.E. #351; 2/11/10 Soni Decl. ¶¶ 2, 23-26, D.E. #230. This .pst

   file contained Karwa’s only copies of the PRACS emails stored on Glenmark’s ESI systems,

   see 2/11/10 Soni Decl. ¶¶ 21–23; Karwa’s copies were not stored on Glenmark’s Microsoft

   Exchange Server or in its journaling system, see Supplemental Declaration of Vijay Soni,

   Ph.D. (Feb. 25, 2010) (“2/25/10 Soni Decl.”) ¶ 9, D.E. #240, and the emails had not been

   copied to any other Glenmark employee designated as a custodian of ESI. See Exhibit 6 (filed

   under seal) to Declaration of Donald Rhoads (Nov. 27, 2009) (attached to Motion for

   Reconsideration), D.E. #203-3. On this limited issue, the Court credits Glenmark’s

   uncontradicted explanation for the omission. Thus, while Glenmark failed in its obligation to

   timely produce the PRACS clinical study reports, no misconduct occurred in connection with

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   the PRACS emails.

          B. Glenmark’s Willful Failure to Search Appropriate Repositories

          The second and more significant instance in which responsive ESI discovery was not

   timely produced -- and the most thoroughly litigated aspect of the parties’ ESI dispute --

   involves copies of two patent applications that were drafted by Glenmark’s outside patent

   attorney (Michael Carmen) and its patent agent (Louisa Lao) for submission to the United

   States Patent and Trademark Office (“PTO”).7

          In an earlier stage of the litigation, the Court addressed the circumstances under which

   these documents were belatedly produced to Nycomed:

          Glenmark first produced the two provisional applications on September 11, 2009, after
          Glenmark’s employee, Dr. Vijay Soni, disclosed their existence during his deposition
          on August 6, 2009. Glenmark [then] disclosed the utility application on September 25,
          2009, after Nycomed filed the first round of the [ESI-related motions].

   11/12/09 M&O at 2, D.E. #189 (record citations omitted). Based on the expanded record, the

   Court now concludes that the underinclusiveness of Glenmark’s ESI searches and the resulting

   omission of the patent applications were willful and not an inadvertent omission.

          Glenmark admits that its ESI searches “did, in fact, identify emails relating to [the]

   patent applications, including copies of the applications.” Letter in Response (Mar. 11, 2010)

   at 1, D.E. #255. However, Glenmark claims that it withheld the patent applications on

   privilege grounds because the applications, which were not saved as separate documents onto



   7
     Although Glenmark also failed to produce an Indian provisional patent application during the
   discovery period, this Court previously ruled that Glenmark was not required to produce any
   “applications to or communications with foreign regulatory bodies.” 7/30/09 M&O at 4–5,
   D.E. #112; 11/12/09 M&O at 2, D.E. #189.

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   Glenmark’s file server, were attached to emails to and from Glenmark’s outside patent

   attorney, and these emails “were created in the course of patent prosecution by patent agents

   and patent attorneys.” Id. After Nycomed responded with skepticism to Glenmark’s claim

   that no unattached copies of the applications existed in Glenmark’s ESI systems, see Letter in

   Response (Mar. 5, 2010) at 1-2, D.E. #249, the Court scheduled an evidentiary hearing to

   explore these issues. The testimony adduced at that hearing, and the Court’s in camera review

   of the allegedly privileged documents, belie Glenmark’s justifications for withholding the

   documents.

                 1. The FIP Database

          Glenmark maintains that the only copy of the U.S. provisional application that its ESI

   searches uncovered was attached to an email from its outside patent attorney, Michael Carmen.

   See 6/2/10 Tr. at 27, D.E. #351; 2/25/10 Soni Decl. ¶¶ 11, 12, D.E. #240; 2/11/10 Soni

   Decl. ¶ 17, D.E. #230; 2/25/10 Def. Letter at 1-2, D.E. #242. This email, sent in July 2008,

   was deemed privileged by Glenmark’s litigation counsel and placed on its privilege log. See

   2/11/10 Soni Decl. ¶ 17, D.E. #230; 2/25/10 Def. Letter at 1-2, D.E. #242.

          As an initial matter, “[t]he attorney-client privilege . . . generally applies to draft patent

   applications, amendments, and supporting affidavits, unless the privilege is waived.” In re

   Rivastigmine Patent Litig., 237 F.R.D. 69, 86 (S.D.N.Y. 2006) (citing Softview Computer

   Prods. Corp. v. Haworth, Inc., No. 97 Civ. 8815, 2000 WL 351411, at *17 (S.D.N.Y. Mar.

   31, 2000)). Nevertheless, this protection does not apply to final versions of patent applications

   once they are filed with the PTO, as the privilege is “waived upon filing.” In re Rivastigmine,

   237 F.R.D. at 86 n.7. Glenmark’s initial privilege log reflects that an email and attachment

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   were sent by Michael Carmen to multiple recipients8 on July 8, 2008 -- the same day as the

   filing of the U.S. provisional application.9 See 2/25/10 Soni Decl. ¶¶ 11-12, D.E. #240;

   3/5/10 Pl. Letter Ex. A (filed under seal) at 9 (log entries 91, 92), D.E. #249. Having

   conducted an in camera review of the referenced email and its attachment, the Court finds that

   the attachment was in fact a copy of the final, filed provisional application, and not a privileged

   draft. It was therefore improper for Glenmark to withhold this document.

            In addition, Glenmark admits that another copy of the U.S. provisional application was

   present in a Foundation IP (“FIP”) database,10 see 2/25/10 Soni Decl. ¶ 14, D.E. #240, 6/2/10

   Tr. at 31, D.E. #351, which database Glenmark used to “store[] and manage[] its United States

   patent applications,” 2/11/10 Soni Decl. ¶ 18, D.E. #230, and that this copy of the provisional

   application was downloaded by Louisa Lao as a template in drafting Glenmark’s U.S. utility

   application. See 2/25/20 Soni Decl. ¶ 14, D.E. #240. It is undisputed that copies of patent

   applications uploaded by Glenmark to FIP’s database were not included in Glenmark’s ESI

   production. According to Dr. Soni, Glenmark “overlooked the Foundation IP website” as a

   source for document production. 2/11/10 Soni Decl. ¶ 19, D.E. #230. The Court rejects this

   excuse as incredible. It was Dr. Soni’s decision to begin using the FIP system in March 2009


   8
        The six listed recipients included Vijay Soni.

   9
      See United States Patent Application No. 0090233891, U.S. Patent & Trademark Office,
   Patent Application Full Text Image Database,
   http://appft1.uspto.gov/netacgi/nph-Parser?Sect1=PTO2&Sect2=HITOFF&p=1&u=%2Fnet
   ahtml%2FPTO%2Fsearch-bool.html&r=1&f=G&l=50&co1=AND&d=PG01&s1=2009023
   3891&OS=20090233891&RS=20090233891.
   10
       Dr. Soni described FIP as a “web-based document storage and docket management solution
   for use by legal personnel in patent prosecution.” 2/11/10 Soni Decl. ¶ 18, D.E. #230.

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   and he was well aware that FIP would soon become the sole repository for final patent

   applications. See 6/2/10 Tr. at 23, D.E. #351.

          Equally misleading is Glenmark’s contention that it did not exercise “control” over

   documents on the FIP system because a third-party, CPA Global, owned the server and

   managed it off-site. See id. at 38; 2/11/10 Soni Decl. ¶ 18, D.E. #230 (“The Foundation IP

   database . . . is not located on Glenmark’s property or otherwise within Glenmark’s control.”).

   As Dr. Soni acknowledged at the hearing, “any manipulation, addition or deletion of

   documents on the FIP server was done by Glenmark representatives.” 6/2/10 Tr. at 38, D.E.

   #351. In fact, this ability to manage the documents on the server was vested in only a handful

   of Glenmark employees with considerable decisionmaking authority, including Drs. Soni and

   Lao. See id. at 36. These employees utilized a password-protected account to access and

   modify the documents, which were “never touched, modified, or deleted in any way by

   Foundation IP.” Id. at 37. Glenmark’s exclusive and complete access to documents residing

   on a third-party’s server is sufficient to establish Glenmark’s “control” over those documents

   and thus to impose on Glenmark an obligation to conduct an appropriate ESI search of those

   files.11 Cf. In re Flag Telecom Holdings, Ltd. Secs. Litig., 236 F.R.D. 177, 180 (S.D.N.Y.

   2006); S.E.C. v. Credit Bancorp, Ltd., 194 F.R.D. 469, 472 (S.D.N.Y. 2000) (a finding of

   control is warranted “where a corporate entity has the ability in the ordinary course of business

   to obtain documents held by another corporate entity”). Given Dr. Soni’s role in overseeing

   11
      That the FIP program is Web-based, and its servers possibly not amenable to the kinds of
   keyword searches used on Glenmark’s servers, does not alter this conclusion. At a minimum,
   Glenmark was required to identify the FIP database as a potential repository for responsive
   documents; the parties could then have devised other means of searching the documents on the
   FIP server.

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   the preparation of the utility application -- which was filed on March 10, 2009, see

   Memorandum in Support (Sept. 29, 2009) at 1, D.E. #172 -- contemporaneously with his

   supervision of the document production in this case, see 6/2/10 Tr. at 7, 15-33, 40, 42, D.E.

   #351, this Court does not believe that the failure to search the FIP database was an innocent

   oversight. Rather, the Court finds that Glenmark willfully avoided searching that database,

   thereby failing to identify and produce the provisional application filed by Michael Carmen, as

   well as the utility application.

                  2. Dr. Lao’s Laptop

          Until the Court intervened to cure the deficiency, Glenmark failed to search a second,

   equally obvious, repository for responsive ESI: the laptop of Dr. Louisa Lao. After learning

   of Dr. Lao’s involvement in drafting the utility patent application, the Court ordered Glenmark

   to conduct an immediate ESI search of her laptop and email account using the parties’ agreed-

   upon search terms. See Memorandum and Order (Mar. 25, 2010) at 2, D.E. #262. Glenmark

   produced six additional documents as a result of the search -- including copies of its U.S.

   provisional and utility applications -- as well as a supplemental privilege log; Glenmark

   claimed that the items produced were “duplicative of documents and information already in

   Nycomed’s possession.” Letter re ESI Search (Apr. 15, 2010) & Ex. A thereto, D.E. #283;

   see Glenmark’s Supplemental Privilege Log (filed under seal) (“Def. Supp. Priv. Log”), D.E.

   #371. In much the same manner that it sought to justify its belated production of the PRACS

   documents, Glenmark has minimized the seriousness of the deficiency in its production of the

   patent applications and other documents under Louisa Lao’s control.

          Even assuming that Nycomed was already in possession of most if not all of the six

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   documents produced by the belated search of Dr. Lao’s laptop in April 2010, these items were

   not originally obtained by Nycomed through Glenmark’s two ESI searches in the spring of

   2009. In particular, the utility and provisional patent applications found on Dr. Lao’s

   computer (and later produced in duplicate by Glenmark) would have remained undiscovered

   had Nycomed not first conducted depositions of Glenmark’s personnel and obtained copies of

   other undisclosed documents from the third-party clinical testing agent, PRACS. In fact, it

   was not until August 6, 2009, when Dr. Soni was constrained to acknowledge their existence

   during his deposition, that Nycomed first became aware of Glenmark’s utility and provisional

   patent applications. See 9/18/09 Pl. Letter at 2 & Ex. J thereto (filed under seal), D.E. #145.

          Glenmark’s excuses for failing to identify Dr. Lao as a records custodian are wholly

   unbelievable and inconsistent with other representations made by Glenmark employees. On the

   one hand, Glenmark claimed that Dr. Lao’s involvement with its ANDA fluticasone lotion was

   “limited to the U.S. utility application” and began “sometime in February or March 2009.”

   Second Supplemental Declaration of Vijay Soni, Ph.D. (Mar. 11, 2010) (“3/10/10 Soni

   Decl.”) ¶ 15, D.E. #257. On the other hand, Glenmark’s privilege log reflects responsive

   emails both to and from Louisa Lao dating back to December 2008. See Defendant’s Privilege

   Log (log entries 187–91) (filed under seal as Exhibit A to Letter in Response (Mar. 5, 2010),

   D.E. #249); Def. Supp. Priv. Log (log entries 27-31), D.E. #371. More importantly, the

   patent applications in question involve what appears to be the allegedly infringing fluticasone

   lotion -- a generic version of the product claimed in the patent-in-suit; that those documents

   unquestionably were discoverable is confirmed by the fact that, in response to Nycomed’s

   motion to compel the production of documents concerning fluticasone-containing lotions,

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   Glenmark assured the Court, in June 2009, that all such nonprivileged documents had been

   produced. See Memorandum and Order (July 30, 2009) (“7/30/09 M&O”) at 2, D.E. #112;

   Letter to Magistrate Judge Mann (June 30, 2009) at 1-2, D.E. #90.12 Glenmark’s omission of

   Dr. Lao from the custodian list was beyond unreasonable.

          What truly indicts Glenmark’s credibility in attempting to minimize Dr. Lao’s role is

   the closeness of the relationship between Dr. Lao and Dr. Soni, who not only hired her, but

   also served as the primary Glenmark employee tasked with designating ESI custodians in

   conjunction with the various department heads. See 6/2/10 Tr. at 8, D.E. #351. Toward the

   end of 2008, Dr. Soni, on Glenmark’s behalf, personally hired Dr. Lao in order “to bring the

   patent filing activity in-house” and to operate the FIP system. Id. at 24. Like that of Dr.

   Soni, Dr. Lao’s office was in Glenmark’s Mahwah, New Jersey location, directly across from

   Dr. Soni’s, and the two had daily contact with one another. See id. at 24, 40. Dr. Soni was

   well aware that Dr. Lao “was the person responsible for modifying the provisional application

   and creating or drafting the utility application” for Glenmark’s fluticasone lotion. Id. at 41,

   42. Even before Dr. Lao began reporting to him directly in the beginning of 2010, Dr. Soni

   received copies of most of the communications between her and Glenmark’s in-house patent

   counsel Sean Ryder, her immediate supervisor at the time she was first hired. See id. at 39,

   40.

          Dr. Soni unpersuasively characterized the omission of Dr. Lao from the custodian list


   12
       Although Judge Amon recently determined that Glenmark’s patent applications “have no
   obvious relevance” to claim construction in this case, see Memorandum and Order (July 9,
   2010) (“7/9/10 M&O”) at 6, D.E. #353, she did not address their relevance to other issues in
   the litigation.

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   as an oversight and an “error on [his] part.” Id. at 42. The Court regards such a

   characterization as a blatant distortion of the truth, belying the gravity of Glenmark’s discovery

   abuses. In fact, the manner in which Glenmark avoided designating Dr. Lao as a custodian

   smacks of willfulness and a “bad faith effort to thwart plaintiff[’s] discovery efforts.” DLC

   Mgmt., 163 F.3d at 136. The purported brevity of Dr. Lao’s work with the patent

   applications does not credibly excuse Glenmark’s failure to include her laptop files in

   Glenmark’s original ESI searches. The decisions by Glenmark, through Dr. Soni, (1) to avoid

   saving copies of the final utility and patent applications on its own file servers, and (2) to vest

   that responsibility with Dr. Lao, its newly hired patent agent, were deliberate stratagems.

   Glenmark, under Dr. Soni’s direction, charged Dr. Lao with the responsibility for managing

   the drafting and finalization of the utility application, and Glenmark’s failure to identify her as

   a custodian effectively eliminated Glenmark’s primary source of document production for its

   utility application. As the court observed in Pension Committee, 685 F.Supp.2d at 465, “the

   failure to collect records -- either paper or electronic -- from key players constitutes gross

   negligence or willfulness . . . .” Here, the omission was plainly willful.

          Thus, based in large part on this key omission and on Glenmark’s failure to timely

   identify and search the FIP database, coupled with Glenmark’s inadequate explanation for its

   withholding of the PRACS clinical study reports and its patent applications, the Court now

   deems discovery sanctions to be an appropriate form of relief.13

   13
       The Court declines to order Glenmark to re-do its ESI searches or conduct a search of its
   backup tapes. With the belated search of Louisa Lao’s laptop, and the production of copies of
   patent applications residing on FIP’s server, the Court is satisfied that Glenmark’s search of its
                                                                                       (continued...)

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   III.    Appropriate Sanctions

          Having considered the parties’ arguments regarding sanctions, the expanded record,

   and the testimony of Dr. Soni, the Court concludes that substantial monetary fines, payable to

   Nycomed and to the Clerk of the Court, are appropriate sanctions, as they will adequately

   advance “the prophylactic, punitive and remedial rationales” of discovery sanctions. See

   Passlogix, Inc. v. 2FA Tech., LLC, 2FA, Inc., No. 08 Civ. 10986 (PKL), 2010 WL 1702216,

   at *37 (S.D.N.Y. Apr. 27, 2010) (internal quotation marks and citation omitted). The record

   establishes that: (1) Glenmark had custody and control over its patent applications and the

   PRACS biostudies, and an obligation to timely produce these documents; and (2) despite its

   awareness of its discovery obligations, Glenmark failed to identify key locations for responsive

   ESI and did so in a deliberate attempt to conceal documents that it considered harmful to its

   litigation position. See generally In re Sept. 11th Liab. Ins. Coverage Cases, 243 F.R.D. 114,

   125 (S.D.N.Y. 2007) (citing Residential Funding, 306 F.3d at 107). Moreover, because

   Glenmark flouted its discovery obligations in a willful manner, the Court finds, as a matter of

   13
     (...continued)
   ESI systems is now sufficient. The Court finds that the file server in Goa, India, need not be
   searched, as the Goa facility does not produce steroids (such as Glenmark’s fluticasone lotion),
   and its server thus would not contain ESI relevant to this litigation. See 3/11/10 Soni Decl. ¶
   4, D.E. #257. The email file server at Glenmark’s facility in Baddi, India, where the
   fluticasone lotion was in fact manufactured, has already been searched on two occasions. See
   Order (Apr. 5, 2010), D.E. #270. As for Glenmark’s backup tapes, the record establishes
   that, as the parties had not reached agreement to search their respective backup systems,
   neither side did so. See Transcript of Civil Conference on May 20, 2010, at 86-89, D.E.
   #318; Transcript of Telephone Conference on May 14, 2010, at 36, D.E. #317; 2/25/10 Def.
   Letter at 3, D.E. #242; 3/11/10 Def. Letter at 3, D.E. #255. “When accessible data satisfies
   the requirement to search for and produce relevant information, there is no need to save or
   search backup tapes.” Pension Comm., 685 F.Supp.2d at 479 n.99 (citing Fed. R. Civ. P.
   26(b)(2)(B)).

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   law, that these documents are relevant to Glenmark’s claims or defenses. See In re Sept. 11th,

   243 F.Supp.2d at 125 (“[A] finding that a party breached its discovery obligations in bad faith

   is sufficient to establish the relevance of untimely produced [] evidence as a matter of law; a

   finding that a party breached its obligations through negligence is ‘frequently’ sufficient”)

   (citing Residential Funding, 306 F.3d at 109).

          Nevertheless, the imposition of sanctions for the untimely production of documents

   should not result in a “windfall for uncovering evidence that would have made little difference

   in the underlying case.” In re Sept. 11th, 243 F.R.D. at 125. It is already clear from the

   record that the patent applications are not as significant as Nycomed claims, and that Nycomed

   has not been so prejudiced by their belated production as to warrant the most severe sanctions.

   See 11/12/09 M&O at 4-5, D.E. #189; see 7/9/10 M&O at 6, D.E. #353; see also cases cited

   supra p. 7. Certainly, the PRACS biostudies are relevant to Glenmark’s defense regarding

   vasoconstriction and, but for Nycomed’s third-party subpoena on PRACS, Nycomed would

   have obtained the PRACS documents at a much later juncture, if at all. The fact remains,

   however, that the documents were eventually produced, and that Nycomed sought and obtained

   depositions of PRACS and Glenmark personnel concerning these materials. See 5/3/10 Def.

   Letter at 2, D.E. #298; Transcript of Oral Argument on December 4, 2009 (“12/4/09 Tr.”) at

   45, D.E. #213. It thus does not appear that, in the long run, Nycomed was deprived of

   discovery to which it was entitled. Consequently, the Court, in fashioning an appropriate

   sanction, will instead focus on addressing any prejudice that Nycomed may have suffered due

   to the delay resulting from this additional discovery-related litigation, as well as the burdens


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   imposed on Nycomed and the Court in pursuing answers to questions about Glenmark’s ESI

   search methods.

          As detailed above, the dispute over the adequacy of Glenmark’s ESI disclosures has

   lasted about a year and has generated thousands of pages of filings. The volume of

   documentation has required the Court to expend tremendous time not only poring over dense

   addenda and appendices,14 but also refereeing arguments between counsel that have, in many

   instances, devolved into vindictive bickering. See, e.g., 2/3/10 Tr. at 22, D.E. #233 (noting

   disagreeable relationship between counsel). The manner in which counsel have litigated

   discovery issues has significantly delayed the Markman process, and -- as Glenmark has

   repeatedly reminded the Court -- such a delay benefits the patent holder, Nycomed, see id. at

   16, 18,15 whose counsel often complained about the fast pace of the litigation. See, e.g.,

   12/4/09 Tr. at 84-85, D.E. #213. In light of these considerations, the Court cannot say that

   Nycomed was prejudiced by the delay in this case.

          To be sure, Nycomed has been forced to expend considerable resources in pursuing the

   facts underlying Glenmark’s discovery violations. Glenmark’s derelictions, and its inability to

   justify its behavior despite its plethora of filings, have also unnecessarily expended the Court’s

   time and energy. Thus, in attempting to craft a monetary fine that best suits “the facts and


   14
       At one point, the Court was compelled to issue an order reminding the parties of the
   Court’s rules regarding the litigation of discovery disputes and setting forth additional
   limitations on sur-replies to each other’s submissions. See Order (Feb. 12, 2010), D.E. #231.

   15
        Nycomed’s exclusivity over the product market would be jeopardized if a generic
   manufacturer such as Glenmark gained ANDA approval and swiftly succeeded in defending an
   infringement action. See Caraco Pharm. Labs., Ltd. v. Forest Labs., Inc., 527 F.3d 1278,
   1285 (Fed. Cir. 2008).

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   evidentiary posture of this case,” Passlogix, 2010 WL 1702216, at *37 (internal quotations and

   citation omitted), the Court concludes that an appropriate remedy for the undue delay caused

   by Glenmark is the imposition on Glenmark of a compensatory fine of $100,000 payable to

   Nycomed to cover a portion of its costs, and an additional monetary fine of $25,000 payable to

   the Clerk of the Court. See generally In re Sept. 11th, 243 F.R.D. at 132 (imposing

   substantial Rule 37 sanctions where delayed production of documents “multiplied proceedings

   and caused undue time and expense”).

          The Court has considered and, for several reasons, rejected ordering an award of

   “reasonable attorneys’ fees” in Nycomed’s favor. First, the Court has, on more than one

   occasion, admonished Nycomed for rehashing arguments in its submissions and in court

   proceedings. See, e.g., Order (Mar. 31, 2010) at 2, D.E. #267 (“If Nycomed persists in filing

   repetitious and unresponsive arguments, the Court will be constrained to strike its

   submissions.”); Transcript of Telephone Conference on May 14, 2010, at 73, D.E. #317.

   Thus, the fees that Nycomed has incurred are likely to be unreasonably high. Second, given

   the protracted nature of the dispute, to invite filings concerning the reasonableness of

   Nycomed’s attorneys’ fees would only spawn more litigation and delay in a case that has

   already been grossly over-litigated.

          In determining the amount of an appropriate sanction, the Court is permitted to

   consider, and has considered, the resources of the sanctioned party.16 Glenmark is a




   16
      See Passlogix, 2010 WL 1702216 at *37 (citing Shangold v. Walt Disney Co., 275 F.
   App’x 72, 74 (2d Cir. 2008)).


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   substantial multinational corporation,17 and a more modest fine of $10,000 or $20,000 would

   amount to a proverbial slap on the wrist. The Court concludes that compensatory fines

   aggregating $125,000 are not unreasonable given Glenmark’s financial resources, as well as

   the amount of sanctions levied in a recent case in this circuit involving delayed production and

   unnecessary discovery-related litigation. See In re Sept. 11th, 243 F.R.D. at 132 (reducing

   parties’ requests for millions of dollars in attorneys’ fees to a lump sum of $500,000, to be

   split between two moving parties).

                                           CONCLUSION

            For the foregoing reasons, having found that Glenmark multiplied the proceedings in

   this action by willfully withholding and delaying production of documents responsive to

   Nycomed’s discovery demands, the Court orders Glenmark to pay, within thirty days from the

   date of this Memorandum and Order, fines in the amount of $100,000 to Nycomed and

   $25,000 to the Clerk, U.S. District Court.

            Any objections to the rulings contained in this Memorandum and Order must be filed

   with the Honorable Carol B. Amon, on or before August 27, 2010. Failure to file objections

   in a timely manner may waive a right to appeal the District Court order.

               SO ORDERED.

   Dated:      Brooklyn, New York
               August 11, 2010
                                                ROANNE L. MANN
                                                UNITED STATES MAGISTRATE

   17
       According to Glenmark’s annual report for fiscal year 2008-2009, the parent company --
   Glenmark Pharmaceuticals, Ltd. -- posted consolidated revenues of $455,350,000. See
   Glenmark Annual Report 2008-2009, http://www.glenmarkpharma.com/Common/pdf/
   annual_report08_09.pdf. That company also posted consolidated revenues for the first quarter
   of the 2009-2010 fiscal year of approximately $151,879,650. See Glenmark Pharmaceuticals
   Limited Unaudited Financial Results for the quarter ended June 30, 2010,
   http://www.glenmarkpharma.com/GLN_DWL/uploads/Result%20Sheet%20Q1%20FY11%20
   one%20page.pdf.

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